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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


FAIR FIGHT ACTION, INC, et al.,
      Plaintiffs,
      v.                                           Civ. Act. No. 18-cv-5391 (SCJ)
BRAD RAFFENSPERGER, et al.,
   Defendants.




              [PROPOSED] ORDER ALLOWING
     ELECTRONIC DEVICES AND AUDIO VISUAL EQUIPMENT

      Plaintiffs and Plaintiffs’ counsel may bring electronic devices to the

scheduled conference on December 19, 2019 before Judge Steve Jones. All

equipment shall be subject to inspection.

      Specifically, the following people be permitted to bring their cellular

phones, laptop computers, and tablets (as well as any power cords) to the

courtroom:

           • Lauren Groh-Wargo (Fair Fight Action CEO)

           • Paul Smith (admitted pro hac vice)

           • Jeremy Creelan (out-of-town counsel for Fair Fight Action, Inc.)
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      Proper identification is required upon entering the security station on the

Plaza or Lower Level Plaza.

      IT IS SO ORDERED this 17th day of December 2019.



                                       THE HONORABLE STEVE JONES
                                       UNITED STATES DISTRICT COURT JUDGE
